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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov


    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/



     NOTICE OF (I) POTENTIAL ASSUMPTION AND ASSIGNMENT OF EXECUTORY
          CONTRACTS AND UNEXPIRED LEASES AND (II) CURE AMOUNTS



You are receiving this notice because you may be a counterparty to a contract or lease with
ShifPixy Inc. Please read this notice carefully as your rights may be affected by the
transactions described herein.



PLEASE TAKE NOTICE OF THE FOLLOWING:



        1.      On October 28, 2024, the above-captioned debtors and debtor-in-possession (the
“Debtors”) filed a motion seeking approval of the bidding procedures for the sale of certain of the
Debtors’ assets (the “Assets”) and approval of the sale such Assets (the “Bidding Procedures and
Sale Motion”) to the highest or best qualified bidder (the “Successful Bidder”). The Debtors have
sought the Court’s approval at a hearing held on November 21, 2024 of the proposed bidding
procedures and the form of this notice. The Debtors have further requested a hearing to approve
the sale of the Assets (the “Sale Hearing”) for December 16, 2024, at 9:30 a.m. (prevailing Eastern
Time) in the United States Bankruptcy Court for the Southern District of Florida in Miami, Florida
(the “Bankruptcy Court”) and a hearing to authorize and approve assumption and assignment of
the Debtors’ executory contracts and unexpired leases, including payment of cure (if any) to be
held if necessary at a date and time to be determined (the “Assumption/Assignment Hearing”).



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 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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        2.      Pursuant to the Bidding Procedures and Sale Motion, the Debtors may potentially
assume and assign to the Successful Bidder one or more of those executory contracts and unexpired
leases listed on Schedule A annexed hereto (collectively, the “Potentially Assigned Agreements”
and each, a “Potentially Assigned Agreement”), pursuant to section 365 of the Bankruptcy Code.



        3.     The Debtors have indicated on Schedule A annexed hereto the cure amounts, if
any, that the Debtors believe must be paid to cure any prepetition defaults and pay all amounts
accrued under the Potentially Assigned Agreements (in each instance, the “Cure Amount”).
       4.       Any party seeking to object to the validity of the Cure Amount as determined by
the Debtors or otherwise assert that any other amounts, defaults, conditions or pecuniary losses
must be cured or satisfied under any of the Potentially Assigned Agreements in order for such
contract or lease to be assumed and assigned, must file an objection (the “Assumption/Assignment
Objection”) that (a) is in writing, (b) sets forth the specific monetary amount the objector asserts
to be due, and the specific types of the alleged defaults, pecuniary losses, accrued amounts and
conditions to assignment and the support therefor, (c) is filed with the Clerk of the Bankruptcy
Court by no later than 4:30 p.m. (prevailing Eastern Time) on December 6, 2024, (the
“Assumption/Assignment Objection Deadline”).



        5.     The Debtors shall file a notice identifying the Successful Bidder with the
Bankruptcy Court and serve such notice upon parties in interest not later than twenty-four (24)
hours after the conclusion of the Auction. The deadline for objecting to the assignment of the
Potentially Assigned Agreements to such Successful Bidder on the basis of adequate assurance of
future performance (“Adequate Assurance Objections”) shall be December 12, 2024, at 4:00 p.m.
(ET) (the “Adequate Assurance Objection Deadline”).


        6.      Unless an Assumption/Assignment Objection is timely and properly filed and
served before the Assumption/Assignment Objection Deadline or an Adequate Assurance
Objection is timely raised before the Adequate Assurance Objection Deadline, the non-debtor party
to a Potentially Assigned Agreement shall (a) be forever barred from objecting to the Cure Amount
and from asserting any additional cure or other amounts with respect to such Potentially Assigned
Agreement, and the Debtors and the Successful Bidder(s) shall be entitled to rely solely upon the
Cure Amount; (b) be deemed to have consented to any assumption and assignment of such
Potentially Assigned Agreement; and (c) be forever barred and estopped from asserting or claiming
against the Debtors or the Successful Bidder(s) that any additional amounts are due or other
defaults exist, that conditions to assignment must be satisfied under such Potentially Assigned

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Agreement or that there is any objection or defense to the assumption and assignment of such
Potentially Assigned Agreement.



        7.      Where a non-debtor counterparty to a Potentially Assigned Agreement timely and
properly files an objection asserting a cure amount higher or different than the proposed Cure
Amount, (the “Disputed Cure Amount”), then (a) the cure amount shall be as agreed between the
parties or (b) to the extent the parties are unable to consensually resolve the dispute, then the
amount to be paid under section 365 of the Bankruptcy Code with respect to such Disputed Cure
Amount will be determined at the Assumption/Assignment Hearing, or at such other date and time
as may be fixed by the Bankruptcy Court. All other objections to the proposed assumption and
assignment of a Potentially Assigned Agreement will likewise be heard at the Sale Hearing, unless
adjourned by agreement of the parties.

        8.      An Assumption/Assignment Objection shall not constitute an objection to the relief
generally requested in the Bidding Procedures and Sale Motion. Parties wishing to otherwise
object to the relief requested in the Sale Motion must file and serve a separate objection, stating
with particularity such party’s grounds for objection, no later than December 6, 2024, at 4:00 p.m.
(prevailing Eastern Time).

        9.     If you agree with the Cure Amount indicated on Schedule A, and otherwise do not
object to the Debtors’ assignment of your lease or contract, you need not take any further action.

        10.     The Debtors’ decision to assume and assign the Potentially Assigned Agreements
is subject to Bankruptcy Court approval and consummation of the sale of the Assets. Unless
otherwise provided in the Successful Bidder(s)’ asset purchase agreement, at any time, but in no
event later than three (3) calendar days prior to the date of closing of the Sale, the Debtors may
remove a contract or lease from the schedule of contracts and unexpired leases to be assumed or
assigned pursuant to the Sale, or (b) modify the previously-stated Cure Costs associated with any
contract or lease.


       Inclusion of any document on the list of Potentially Assigned Agreements shall not
constitute or be deemed to be a determination or admission by the Debtors or the Successful
Bidder(s) that such document is, in fact, an executory contract or unexpired lease within the
meaning of the Bankruptcy Code, and all rights with respect thereto are being expressly
reserved




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Dated December 3, 2024.

                                              DGIM Law, PLLC
                                              Counsel for the Debtors
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                                              Aventura, FL 33180
                                              Phone: (305) 763-8708

                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
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                                              Florida Bar No. 097646
                                              Email: dan@dgimlaw.com




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Notice was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 3rd day of December, 2024.



                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373




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                    EXHIBIT A




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          Contract Counter-Party                      Cure Amount
Sendgrid                                                             $336.00
Twillio                                                                $28.89
MongoDB                                                             $1,160.75
AWS                                                                 $8,445.59
GitLab                                                                  $0.00
GitHub                                                                  $0.00
HelloSign (Dropbox)                                                     $0.00
IBM Watson                                                           $140.00
OpenAI ChatGPT                                                       $900.00
Humanity                                                            $2,148.09
Microsoft - 365, AppCenter, Azure                                   $3,133.42
Okta / Auth0                                                        $8,913.94
Google Play Store                                                       $0.00
Apple App Store                                                         $0.00
Egnyte                                                                  $0.00
DreamHost                                                               $0.00
Wordpress                                                           $1,500.00
EasyDNS                                                                 $0.00
Sage Intacct                                                            $0.00
Prism                                                                   $0.00
ADP MasterTax                                                       $4,242.57
LastPass                                                                $0.00
Turn                                                                 $199.90
Asurint                                                             $1,305.00
HubSpot                                                             $6,956.80
JobTarget                                                            $160.00
HeyMarket                                                              $70.00
Divi                                                                    $0.00
Vercel                                                              $2,879.28
Figma                                                                   $0.00
Traliant (Kantola)                                                  $6,825.00
AppsFlyer                                                               $0.00
US Wellness                                                             $0.00
Kose (Decorte)                                                          $0.00
Lions Floor                                                             $0.00
Seed School                                                             $0.00


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Nilfisk                                                                      $0.00
PoolCorp                                                                     $0.00
D&W Fine Pack                                                                $0.00
Pactiv Evergreen                                                             $0.00
Little Caesars (Blue Line Distribution)                                      $0.00
KW Property Management Co.                                                   $0.00
Bond No. 9                                                                   $0.00
Century Trade Show Services, LLC.                                            $0.00
Unbrako                                                                      $0.00
Little Sister                                                                $0.00
Pasadena Baking Company                                                      $0.00
AIM Recycling                                                                $0.00
GL Strategic Staffing                                                        $0.00
Bennett Landscape                                                            $0.00
Burger King (Consolidated Burger)                                            $0.00
CIF Group International                                                      $0.00
The Fullfillment Lab                                                         $0.00
Jani-King of Cleveland                                                       $0.00
Kingspan                                                                     $0.00
National Wire & Cable                                                        $0.00
Nextant Aerospace                                                            $0.00
Primo Water                                                                  $0.00
Del Taco (Diamondback DTNM )                                                 $0.00
Verisk                                                                       $0.00
B&J Pets & Aquariums (Monster Pets)                                          $0.00
Florida Smoked Fish                                                          $0.00
Belfor                                                                       $0.00
Miami Paint Centre                                                           $0.00
ServiceMaster DSI                                                            $0.00
Alpha Gamma Seafood                                                          $0.00
Quala                                                                        $0.00
Acorn East                                                                   $0.00
Rinker Materials                                                             $0.00
Superior Tank                                                                $0.00
Quality Importers                                                            $0.00
Crane Companies                                                              $0.00
ULS Cargo                                                                    $0.00
Coastal Handyman Pros                                                        $0.00
Quality Custom Dist. (Golden State Foods)                                    $0.00
USA Up Star                                                                  $0.00
Hyatt Die Cast                                                               $0.00
Evolution Logistics                                                          $0.00
GCC                                                                          $0.00
DocGo (Vertex Global Solutions)                                              $0.00
FastSigns                                                                    $0.00

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Precision Concepts (C&G Packaging)                                            $0.00
Palmas Restaurant Group (Frontera Grill)                                      $0.00
Kitsuko                                                                       $0.00
Total Cost:                                                              $49,345.23




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